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 1   LIONEL Z. GLANCY (#134180)
       lglancy@glancylaw.com
 2   JONATHAN ROTTER (#234137)
       jrotter@glancylaw.com
 3   GARTH SPENCER (pro hac vice)
       gspencer@glancylaw.com
 4   GLANCY PRONGAY & MURRAY LLP
     1925 Century Park East, Suite 2100
 5   Los Angeles, California 90067
     Telephone: (310) 201-9150
 6   Facsimile: (310) 201-9160
 7   LAWRENCE P. EAGEL (pro hac vice)
      eagel@bespc.com
 8   DAVID J. STONE (#208961)
      stone@bespc.com
 9   MELISSA A. FORTUNATO (#319767)
      fortunato@bespc.com
10   BRAGAR EAGEL & SQUIRE, P.C.
     885 Third Avenue, Suite 3040
11   New York, New York 10022
     Telephone: (212) 308-5858
12   Facsimile: (212) 486-0462
13   Attorneys for Lead Plaintiffs Robert Wolfson and Frank
     Pino and Co-Lead Counsel for the Class
14
                                  UNITED STATES DISTRICT COURT
15

16                             NORTHERN DISTRICT OF CALIFORNIA

17   ROBERT CRAGO, Individually And On Behalf                 Case No. 3:16-cv-3938-RS
     Of All Others Similarly Situated,
18                                                            CLASS ACTION
19                        Plaintiff,
                                                              JOINT STIPULATION AND ORDER FOR
            v.                                                EXTENSION OF CLASS
20
                                                              CERTIFICATION SCHEDULE
                                                              AS MODIFIED BY THE COURT
21   CHARLES SCHWAB & CO., INC., and THE
     CHARLES SCHWAB CORPORATION,
22
                          Defendants.
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                                       STIPULATION AND ORDER
                                              Case No. 16-cv-3938-RS
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 1          Pursuant to Local Rule 6-2, Lead Plaintiffs Robert Wolfson and Frank Pino and named
 2   plaintiff Scott Posson (“Plaintiffs”), and Defendants Charles Schwab & Co., Inc. and The Charles
 3   Schwab Corporation (“Defendants” or “Schwab” and, together with Plaintiffs, the “Parties”), by and
 4   through their respective counsel, for good cause, hereby stipulate as follows:
 5          WHEREAS, on April 15, 2019, the Court entered a Case Management Scheduling Order
 6   setting the case schedule through the class certification hearing (ECF No. 144), and on April 6, 2020
 7   the Court so-ordered the Parties’ stipulation to extend the case schedule (ECF No. 150);
 8          WHEREAS, the Parties have engaged in class certification and merits discovery and are
 9   continuing to meet and confer in good faith regarding outstanding issues;
10          WHEREAS, on February 5, 2020, Plaintiffs noticed a Rule 30(b)(6) deposition that was
11   originally scheduled for May 7, 2020;
12          WHEREAS, on June 1, 2020, the Parties met and conferred regarding the case schedule in
13   light of certain restrictions due to COVID-19 and in response to the Court’s May 18, 2020 Order
14   (ECF No. 151);
15          WHEREAS, the Parties have agreed to re-schedule the Rule 30(b)(6) deposition for July 29,
16   2020 to potentially allow for an in person deposition;
17          WHEREAS, the current deadline for pre-class certification fact depositions is June 12, 2020,
18   so the Parties need an extension of the current class certification deadlines to accommodate the date
19   of this deposition;
20          WHEREAS, the Parties have agreed, with the Court’s approval, to modify the Case
21   Management Scheduling Order to extend the deadlines by approximately one month for each deadlne
22   through the class certification hearing;
23          WHEREAS, this is the Parties’ fifth request for an extension of the deadlines in the Case
24   Management Scheduling Order;
25          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED, SUBJECT TO
26   APPROVAL BY THIS COURT, as follows:
27          The deadlines through the class certification hearing shall be as follows:
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                                                     -1-
                                     STIPULATION AND ORDER
                                                  Case No. 16-cv-3938-RS
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              Event                                                  Deadline
 1
       Pre-class certification fact depositions                      July 31, 2020
 2
       Plaintiffs’ expert disclosures and report(s) concerning       September 1, 2020
 3     class certification (including any backup materials)

 4     Defendants’ expert disclosures and report(s) concerning       November 6, 2020
       class certification (including any backup materials)
 5     Plaintiffs’ rebuttal report(s) concerning class               December 23, 2020
 6     certification (including any backup materials)
       Expert depositions concerning class certification             January 6-20, 2021
 7
       Plaintiffs’ class certification motion and Daubert            February 15, 2021
 8     challenges
 9     Defendants’ class certification opposition, Daubert           April 16, 2021
       challenges, and Daubert opposition
10
       Plaintiffs’ reply brief, opposition to Daubert challenges,    May 5, 2021
11     and reply to Daubert challenges of Defendants’
       expert(s)
12
       Defendants’ reply to Daubert challenges of Plaintiffs’        May 31, 2021
13     experts
       Class Certification Hearing                                   June 17, 2021
14

15
       Date for Parties to Seek to Engage in Private Mediation       September 4, 2020
16

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           IT IS SO STIPULATED.
18
     Dated: June 22, 2020                                GLANCY PRONGAY & MURRAY LLP
19

20                                                       By: /s/ Jonathan Rotter
                                                         Jonathan Rotter (#234137)
21                                                         jrotter@glancylaw.com
                                                         Lionel Glancy (#134180)
22                                                         lglancy @glancylaw.com
                                                         Garth Spencer (pro hac vice)
23                                                         gspencer@glancylaw.com
                                                         1925 Century Park East, Suite 2100
24                                                       Los Angeles, California 90067
                                                         Telephone: (310) 201-9150
25                                                       Facsimile: (310) 201-9160

26                                                       Attorneys for Lead Plaintiff Frank Pino and Co-
                                                         Lead Counsel for the Class
27

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                                     STIPULATION AND ORDER
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                                          BRAGAR EAGEL & SQUIRE, P.C.
 1                                        Lawrence P. Eagel
                                           eagel@bespc.com
 2                                        David J. Stone (#208961)
                                           stone@bespc.com
 3                                        Melissa A. Fortunato (#319767)
                                           fortunato@bespc.com
 4                                        885 Third Avenue, Suite 3040
                                          New York, New York 10022
 5                                        Telephone: (212) 308-5858
                                          Facsimile: (212) 486-0462
 6
                                          Attorneys for Lead Plaintiff Robert Wolfson and
 7                                        Co-Lead Counsel for the Class
 8                                        LEVI & KORSINSKY, LLP
                                          Eduard Korsinsky
 9
                                            ek@zlk.com
10                                        Nicholas I. Porritt
                                            nporritt@zlk.com
11                                        Nancy A. Kulesa
                                            nkulesa@zlk.com
12                                        30 Broad Street, 24th Floor
13                                        New York, New York 10004
                                          Telephone: (212) 363-7500
14                                        Facsimile: (212) 363-7171

15                                        Attorneys for Plaintiff Scott Posson
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                        STIPULATION AND ORDER
                               Case No. 16-cv-3938-RS
            Case 3:16-cv-03938-RS Document 154 Filed 06/23/20 Page 5 of 6




 1   Dated: June 22, 2020                                ARNOLD & PORTER

 2                                                       By: Gilbert R. Serota
                                                         Gilbert R. Serota (#75305)
 3                                                        gilbert.serota@arnold.porter.com
                                                         Three Embarcadero Center, 10th Floor
 4                                                       San Francisco, CA 94111-4024
                                                         Telephone: (415) 471-3170
 5                                                       Facsimile: (415) 471-3400

 6                                                       SIDLEY AUSTIN LLP
                                                         Alex Kaplan (pro hac vice)
 7                                                         ajkaplan@sidley.com
                                                         Jon W. Muenz (pro hac vice)
 8                                                         jmuenz@sidley
                                                         787 Seventh Avenue
 9                                                       New York, NY 10019
                                                         Telephone: (212) 839-5300
10                                                       Facsimile: (212) 839-5599

11                                                       Attorneys for Defendants

12

13
                                                ATTESTATION
14
            I, Jonathan Rotter, am the ECF User whose identification and password are being used to file
15

16   this Proposed Order for Extension of Class Certification Schedule. In compliance with Local Rule

17   5-1(i)(3), I hereby attest that Counsel for Defendants concur in this filing.

18

19   DATED: June 22, 2020                                                 Jonathan Rotter
                                                                           Jonathan Rotter
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                                      STIPULATION AND ORDER
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           Case 3:16-cv-03938-RS Document 154 Filed 06/23/20 Page 6 of 6



                                                   ORDER
 1
            Based on the Parties’ stipulation and the good cause described therein, the Court GRANTS
 2
     this stipulation. The following schedule shall apply:
 3
                 Event                                                Deadline
 4      Pre-class certification fact depositions                      July 31, 2020
 5      Plaintiffs’ expert disclosures and report(s) concerning       September 1, 2020
        class certification (including any backup materials)
 6
        Defendants’ expert disclosures and report(s) concerning       November 6, 2020
 7      class certification (including any backup materials)

 8      Plaintiffs’ rebuttal report(s) concerning class               December 23, 2020
        certification (including any backup materials)
 9      Expert depositions concerning class certification             January 6-20, 2021
10      Plaintiffs’ class certification motion and Daubert            February 15, 2021
        challenges
11
        Defendants’ class certification opposition, Daubert           April 16, 2021
12      challenges, and Daubert opposition
13      Plaintiffs’ reply brief, opposition to Daubert challenges,    May 5, 2021
        and reply to Daubert challenges of Defendants’
14      expert(s)
15      Defendants’ reply to Daubert challenges of Plaintiffs’        May 31, 2021
        experts
16
        Class Certification Hearing                                   June 17, 2021
17

18
        Date for Parties to Seek to Engage in Private Mediation       September 4, 2020
19

20
            IT IS SO ORDERED.
21

22           6/23/2020
     DATED: __________________
                                                                       Hon. Richard Seeborg
23                                                                    U.S. District Court Judge

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                                      STIPULATION AND ORDER
                                             Case No. 16-cv-3938-RS
